Case 6:20-cv-00171-GAP-EJK Document 1 Filed 02/03/20 Page 1 of 7 PagelD 1

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
PAMELA SPENCER,
Plaintiff,
v. CASE NO.:
BIO-TECH CONSULTING, INC..,

Defendant.

COMPLAINT

COMES NOW Plaintiff. PAMELA SPENCER (“Plaintiff”), by and through her
undersigned counsel, and hereby files this Complaint for damages against Defendant, BIO-
TECH CONSULTING, INC. (“Defendant”), and states as follows:

JURISDICTION AND VENUE

1. This is an action for damages, injunctive relief, and declaratory relief against
Defendant to address deprivation of rights secured by 29 U.S.C. § 201 et seq., known as the
“Fair Labor Standards Act” (“FLSA”).

2. This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and 29
U.S.C. § 201 et seq.

3. Venue is proper in the Middle District of Florida, because all of the events

giving rise to these claims occurred in Orange County, Florida.
Case 6:20-cv-00171-GAP-EJK Document 1 Filed 02/03/20 Page 2 of 7 PagelD 2

THE PARTIES

4. At all material times hereto, Plaintiff was an individual working for Defendant
in the State of Florida, Orange County, Florida, and was an “employee” for Defendant under
the FLSA.

5, At all material times hereto, Defendant was and remains a Florida for-profit
corporation and transacted business and performed services in the State of Florida, Orange
County, Florida, and was the “employer” of Plaintiff under the FLSA. Defendant acts through
its management, supervisors, owners, and agents.

STATEMENT OF FACTS

6. Defendant is an environmental consulting firm headquartered in Orlando,
Florida.

7. In February 2019, Plaintiff began working for Defendant on a temporary basis,
as administrative assistant, which is a non-exempt employee position under the FLSA.

8. In May 2019, Plaintiff began working for Defendant on as a permanent
employee in her same position, as administrative assistant, which is a non-exempt employee
position under the FLSA.

9. During Plaintiff's tenure with Defendant, Plaintiff satisfactorily performed all
of the essential duties of her position.

10. During Plaintiff's tenure with Defendant, Defendant would unlawfully violate
the FLSA by knowingly and willfully failing to pay Plaintiff overtime for her hours worked

above forty (40) hours per week.
Case 6:20-cv-00171-GAP-EJK Document 1 Filed 02/03/20 Page 3 of 7 PagelD 3

1 During Plaintiff's tenure with Defendant, Defendant unlawfully misclassified
Plaintiff as an exempt salaried employee.

12. Even with Defendant unlawfully misclassifying Plaintiff as an exempt salaried
employee, Defendant would also unlawfully fail to pay Plaintiff properly as an exempt salaried
employee by only paying Plaintiff for actual hours worked on weeks where Plaintiff worked
less than 40 hours.

13. Plaintiff objected to Defendant’s unlawful violations of the FLSA as described
above, including without limitation, on January 23, 2020, Plaintiff objected to Defendant's
unlawful conduct during an administrative meeting attended by multiple people, including
without limitation, Defendant’s human resources manager, Defendant’s office manager, and
another of Defendant’s administrative assistants.

14. At the time of Plaintiff's objections to Defendant’s unlawful violations of the
FLSA at the administrative meeting described in paragraph 13 above Plaintiff also presented
Defendant’s human resources manager with documentation relating to the FLSA to support
Plaintiff's objections to Defendant’s unlawful violations of the FLSA.

15, Upon Plaintiff objecting to Defendant’s unlawful violations of the FLSA and
presenting Defendant’s human resources manager with the FLSA documentation, Defendant’s
human resources manager became extremely hostile toward Plaintiff and began yelling at
Plaintiff, including without limitation, yelling that Defendant would now need to get a lawyer
and asking why Plaintiff didn’t just quit her position with Defendant.

16. On January 24, 2020, the very next day after Plaintiff objected to Defendant’s

unlawful violations of the FLSA and presented the FLSA documentation during the
Case 6:20-cv-00171-GAP-EJK Document 1 Filed 02/03/20 Page 4 of 7 PagelD 4

administrative meeting, Defendant unlawfully retaliated against Plaintiff by terminating

Plaintiff's employment because of Plaintiff's objections to Defendant’s unlawful violations of

the FLSA.
L?. Defendant’s unlawful conduct in violation of the FLSA was willful.
18. As a direct and proximate cause of said acts of Defendant, its agents and or

owners, Plaintiff has suffered and will continue to suffer severe financial and emotional
damages.
COUNT I - FLSA OVERTIME VIOLATION

19. Plaintiff restates and incorporates herein the allegations as set forth in
paragraphs | through 18 above, as if fully set forth herein.

20. During the statutory period, Plaintiff worked overtime hours while employed
by Defendant, and Plaintiff was not compensated for all of these hours in accordance with the
FLSA.

21. The foregoing conduct, as alleged, constitutes a willful violation of the FLSA,
within the meaning of 29 U.S.C. § 255(a).

22. As aresult of the foregoing, Plaintiff has suffered damages.

WHEREFORE, Plaintiff respectfully requests that this Court hold Defendant liable
for the following relief:

a) Judgment against Defendant for an amount equal to Plaintiff's unpaid
back wages at the applicable overtime rate;
b) Judgment against Defendant, stating that Defendant’s violations of the

FLSA were willful;
Case 6:20-cv-00171-GAP-EJK Document 1 Filed 02/03/20 Page 5 of 7 PagelID 5

c) An amount equal to Plaintiffs overtime damages as liquidated
damages:
d) To the extent liquidated damages are not awarded, an award of

prejudgment interest:
e) A declaratory judgment that Defendant’s practices as to Plaintiff were
unlawful, and a grant of equitable relief to Plaintiff;
f) All costs and attorney’s fees incurred in prosecuting these claims; and
g) For such further relief as this Court deems just and equitable.
COUNT II - FLSA RETALIATION
23. Plaintiff restates and incorporates herein the allegations as set forth in
paragraphs | through 17 above, as if fully set forth herein.
24. By complaining to Defendant’s management regarding Defendant’s violations
of the FLSA, Plaintiff engaged in protected activity under the FLSA.
25. By terminating Plaintiff's employment, Defendant retaliated against Plaintiff
for engaging in protected activity under the FLSA.
26. The foregoing conduct, as alleged, constitutes a willful violation of the FLSA,
within the meaning of 29 U.S.C. § 255(a),
27. Plaintiff was injured by Defendant’s violations of the FLSA.
WHEREFORE, Plaintiff respectfully requests that this Court hold Defendant liable

for the following relief:

(a) A jury trial on all issues so triable;

(b) That process issue and that this Court take jurisdiction over the case;
Case 6:20-cv-00171-GAP-EJK Document 1 Filed 02/03/20 Page 6 of 7 PagelD 6

(Cc)

That this Court enter a judgment, stating that Defendant retaliated

against Plaintiff in violation of the FLSA:

(d)
(e)
(f)

Compensation for lost wages, benefits, and other remuneration:
Compensatory damages, including emotional distress; and

For such further relief as this Court deems just and equitable.

DEMAND FOR JURY TRIAL

Plaintiff herein demands a jury trial on and for all issues so triable.

Dated this 3 day of February, 2020.

Respectfully submitted,

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LUIS A. CABASSA, P.A.
Florida Bar Number: 0053643
WENZEL FENTON CABASSA, P.A.
1110 North Florida Ave., Suite 300
Tampa, Florida 33602

Direct: 813-379-2565

Main: 813-224-0431

Facsimile: 813-229-8712

Email: Icabassa@wfclaw.com
Email: gnichols@wfclaw.com
Attorney for Plaintiffs

P*

 
Case 6:20-cv-00171-GAP-EJK Document 1 Filed 02/03/20 Page 7 of 7 PagelD 7

and

SCOTT M. WEAVER

Florida Bar Number: 573221

THE WEAVER LAW FIRM, P.A.
801 West Bay Dr., Suite 426

Largo, Florida 33770

Direct No. 727-316-5330

Facsimile: 727-499-7322

E-mail: scott@theweaverlawfirm.com
Attorney for Plaintiff
